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                                                                                    United States District Court
                                                                                      Southern District of Texas

                                                                                         ENTERED
                                                                                     September 08, 2021
                             UNITED STATES DISTRICT COURT
                                                                                      Nathan Ochsner, Clerk
                              SOUTHERN DISTRICT OF TEXAS
                                   MCALLEN DIVISION

UNITED STATES OF AMERICA,                        §
                                                 §
VS.                                              § CRIMINAL ACTION NO. 7:19-CR-522
                                                 §
RICARDO QUINTANILLA, et al,                      §
                                                 §
             Defendants.                         §

                                             ORDER

           The Court now considers the Government’s Supplemental Motion for Evidentiary Rulings

in Deposition Testimony of Elizabeth Walker.1 No Defendant has filed a response. Based upon a

review of the evidence submitted, the Court GRANTS the motion. Accordingly, Defendant

Arturo C. Cuellar’s objection to Government Exhibit 159, raised at the deposition of Elizabeth

Walker is hereby OVERRULED.

           IT IS SO ORDERED.

           DONE at McAllen, Texas, this 8th day of September, 2021.


                                                 ___________________________________
                                                 Micaela Alvarez
                                                 United States District Judge




1   Dkt. No. 292.


1/1
